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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

 POSH SAUDI CO. LTD.,                                              CIVIL ACTION
     Plaintiff

 VERSUS                                                            NO. 20-3453

 DYNAMIC INDUSTRIES, INC.,                                         SECTION: “E” (3)
     Defendant



                               ORDER OF DISMISSAL
         The Court having been advised that all parties have firmly agreed upon a

compromise in this matter;

         IT IS ORDERED that this action is hereby dismissed as to all parties, without

costs and without prejudice to the right, upon good cause shown, within sixty days, to

reopen the action if the settlement is not consummated. In addition, the Court specifically

retains jurisdiction to enforce the settlement agreement if settlement is not consummated

within sixty days. See Fed. R. Civ. P. 41(a)(2); Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 381-82 (1994); Hospitality House, Inc. v. Gilbert, 298 F.3d 424, 430 (5th Cir.

2002).

         COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN

SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT

TO APPEAR.

                New Orleans, Louisiana, this 1st day of April, 2022.


                      ________________________________
                               SUSIE MORGAN
                        UNITED STATES DISTRICT JUDGE
